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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------ X
JANE DOE,

                                     Plaintiff,                  Civil Action No. 23-cv-06418
         V.
                                                                 REVISED
LEON BLACK,                                                      CONFIDENTIALITY
                                                                 STIPULATION AND
                                    Defendant.                   PROTECTIVE ORDER


-------------------------------------------------------------X


        WHEREAS, the Parties having agreed to the following terms of confidentiality, and the
 Court having found that good cause exists for the issuance of an appropriately tailored
 confidentiality order pursuant to Rule 26(c) of the Federal Rules of Civil Procedure, it is hereby

        ORDERED that the following restrictions and procedures shall apply to the information
 and documents exchanged by the parties in connection with the pre-trial phase of this action:

         1.      Counsel for any party may designate any document or information, in whole or in
 part, as "Confidential" if counsel determines in good faith, that such designation is necessary to
 protect the interests ofthe client information that is proprietary, a trade secret or otherwise sensitive
 non-public information. Information and documents designated by a party as confidential will be
 stamped "CONFIDENTIAL."

         2.     The Confidential Information disclosed will be held and used by the person
 receiving such information solely for use in connection with the action.

         3.     In the event a party challenges another party's designation of confidentiality,
 counsel shall make a good faith effort to resolve the dispute, and in the absence of a resolution, the
 challenging party may seek resolution by the Court. Nothing in this Protective Order
 constitutes an admission by any party that Confidential Information disclosed in this case is
 relevant or admissible. Each party reserves the right to object to the use or admissibility of the
 Confidential Information.

          4.     The parties should meet and confer if any production requires a designation of "For
 Attorneys' or Experts' Eyes Only." Any party wishing to file documents designated as "For
 Attorneys' or Experts' Eyes Only" with the Court shall seek leave for the documents to be filed under
 seal in accordance with Rule 5(e) ofJudge Clarke's individual rules.

         5.      All documents designated as "CONFIDENTIAL" shall not be disclosed to any
 person, except:

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            a.      The requesting party and counsel, including in-house counsel;

            b.      Employees of such counsel assigned to and necessary to assist m the
                    litigation;

            c.      Consultants or experts assisting in the prosecution or defense ofthe matter,
                    to the extent deemed necessary by counsel;

            d.      Outside photocopying, graphic production, or litigation support services, as
                    necessary for use in connection with the action; and

           e.      The Court (including the mediator, or other person having access to any
                   Confidential Information by virtue ofhis or her position with the Court).

       5.     Prior to disclosing or displaying the Confidential Information to any person,
counsel must:

           a.      Inform the person ofthe confidential nature ofthe information or documents;

           b.      Inform the person that this Court has enjoined the use of the information or
                   documents by him/her for any purpose other than this litigation and has enjoined
                   the disclosure ofthe information or documents to any other person; and

           c.      Require each such person to sign an agreement to be bound by this Order in
                   the form attached as Exhibit A.

        6.     The disclosure of a document or information without designating it as
"Confidential" shall not constitute a waiver ofthe right to designate such document or information
as Confidential Information. If so designated, the document or information shall thenceforth be
treated as Confidential Information subject to all the terms ofthis Stipulation and Order.

        7.     Any Personally Identifying Information ("PII") (e.g., social security numbers,
financial account numbers, passwords, and information that may be used for identity theft)
exchanged in discovery shall be maintained by the receiving party in a manner that is secure and
confidential and shared only with authorized individuals in a secure manner. The producing party
may specify the minimal level ofprotection expected in the storage and transfer ofits information.
In the event the party who received PII experiences a data breach, it shall immediately notify the
producing party ofsame and cooperate with the producing party to address and remedy the breach.
Nothing herein shall preclude the producing party from asserting legal claims or constitute a waiver
oflegal rights and defenses in the event oflitigation arising out of the receiving party's failure
to appropriately protect PII from unauthorized disclosure.

        8.     Pursuant to Federal Rule of Evidence 502, the production of privileged or work-
product protected documents or communications, electronically stored information ("ESI") or
information, whether inadvertent or otherwise, shall not constitute a waiver of the privilege or
protection from discovery in this case or in any other federal or state proceeding. This Order shall
be interpreted to provide the maximum protection allowed by Federal Rule of Evidence
502(d). Nothing contained herein is intended to or shall serve to limit a party's right to conduct a

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review of documents, ESI or information (including metadata) for relevance, responsiveness
and/or segregation of privileged and/or protected information before production.

       9.      The parties shall follow the Court's procedures for requests for filing under seal.

        10.    At the conclusion of litigation, Confidential Information and any copies thereof
shall be promptly (and in no event later than 30 days after entry of final judgment no longer subject
to further appeal) returned to the producing party or certified as destroyed, except that the parties'
counsel shall be permitted to retain their working files on the condition that those files will remain
protected.

        11.    Nothing herein shall preclude the parties from disclosing Confidential Information
if otherwise required by law or pursuant to a valid subpoena.

SO STIPULATED AND AGREED.

 Dated: New York, New York                            Dated: New York, New York
        November 6, 2024                                     November 6, 2024




By: Isl Jennifer J Barrett                        By: Isl Meredith Firetog

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    PE RRYLAW                                          Hon. Jessica G. L. Clarke
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